UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA

          - against -                     17-cr-402 (JGK)

JASON EDWARDS,                            MEMORANDUM OPINION &
                                          ORDER
                    Defendant.
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JOHN G. KOELTL, District Judge:

     On January 9, 2018, the defendant, Jason Edwards, pleaded

guilty to one count of conspiracy to commit bank fraud in

violation of 18 U.S.C. § 1344, in violation of 18 U.S.C. § 1349.

Dkt. Nos. 81, 98. On April 20, 2018, the Court sentenced the

defendant to 15 months’ imprisonment and a 5-year term of

supervised release. Dkt. No. 108. The sentence was to run

consecutively to a state court sentence for a violent offense

that the defendant had previously committed. Id. The defendant

is incarcerated at the New York State Cayuga County Jail and

completed his state court sentence on March 16, 2020. Dkt. No.

151. Because of the COVID-19 pandemic, the defendant was not

transferred to federal custody and has served approximate 4

months of his federal sentence at the Cayuga County Jail. Id.

The defendant now moves to reduce his sentence, or in the

alternative, to modify his term of supervised release to home

detention for the period of time equal to his remaining term of

incarceration, pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). For the

reasons explained below, the motion is denied.
                               I.

     As amended by Section 603(b) of the First Step Act, Pub. L.

No. 115-391, 132 Stat. 5194, 5239 (Dec. 21, 2018), 18 U.S.C.

§ 3582(c) provides that:

     The court may not modify a term of imprisonment once
     it has been imposed except that

      (1) in any case –

          (A) The court, upon motion of the Director
          of the Bureau of Prisons, or upon motion of
          the defendant after the defendant has fully
          exhausted   all   administrative   rights   to
          appeal a failure of the Bureau of Prisons
          [“BOP”] to bring a motion on the defendant’s
          behalf or the lapse of 30 days from the
          receipt of such a request by the warden of
          the   defendant’s   facility,   whichever   is
          earlier, may reduce the term of imprisonment
          (and may impose a term of probation or
          supervised    release    with    or    without
          conditions that does not exceed the unserved
          portion    of    the    original    term    of
          imprisonment), after considering the factors
          set forth in section 3553(a) to the extent
          that they are applicable, if it finds that—

               (i)    extraordinary   and    compelling
               reasons warrant such a reduction; . . .

          and that such a reduction is consistent with
          applicable policy statements issued by the
          Sentencing Commission[.]

18 U.S.C. § 3582(c).

     When deciding a motion brought pursuant to 18 U.S.C.

§ 3582(c)(1)(A)(i), the threshold question is whether the

defendant has shown that “extraordinary and compelling reasons”

exist to reduce the defendant’s sentence. The relevant policy


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statement promulgated by the Sentencing Commission provides that

a reduced sentence for “extraordinary and compelling reasons”

may be based on the defendant’s medical condition where the

defendant is “suffering from a serious physical or medical

condition . . . that substantially diminishes the ability of the

defendant to provide self-care within the environment of a

correctional facility and from which he or she is not expected

to recover.” U.S.S.G. § 1B1.13(1)(A) & cmt. n.1(A).

Extraordinary and compelling reasons also exist when the

defendant “(i) is at least 65 years old; (ii) is experiencing a

serious deterioration in physical or mental health because of

the aging process; and (iii) has served at least 10 years or 75

percent of his or her term of imprisonment, whichever is less,”

id. at § 1B1.13 cmt. n.1(B), or in certain family circumstances,

such as “death or incapacitation of the caregiver of the

defendant's minor child” or “incapacitation of the defendant's

spouse or registered partner when the defendant would be the

only available caregiver for the spouse or registered partner,”

id. at § 1B1.13 cmt. n.1(C). Furthermore, “extraordinary and

compelling reasons” exist when “[a]s determined by the Director

of the Bureau of Prisons, there exists in the defendant’s case

an extraordinary and compelling reason other than, or in

combination with the reasons described in subdivisions (A)




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through (C) [of the policy statement].” Id. at § 1B1.13 cmt.

n.1(D).

     If “extraordinary and compelling reasons” exist, the Court

must then assure itself that a reduced sentence would be

consistent with the factors set out in 18 U.S.C. § 3553(a). See

United States v. Lisi, No. 15-CR-457, 2020 WL 881994, at *5

(S.D.N.Y. Feb. 24, 2020). Finally, before the court may reduce

the defendant’s sentence, the policy statement requires the

Court to determine that the “defendant is not a danger to the

safety of any other person or to the community, as provided in

18 U.S.C. § 3142(g).” U.S.S.G. § 1B1.13(2). 1

                                     II.

                                     A.

     The defendant has not established that extraordinary and

compelling reasons exist that warrant an immediate termination

of the defendant’s term of imprisonment.

     The defendant admits that he is not a “high-risk inmate”

because he has no pre-existing medical conditions that make him

susceptible to COVID-19 or to particularly sever effects of that

disease. The defendant also states that COVID-19 is not as

1 A defendant must also comply with the procedural exhaustion requirement set
out in 18 U.S.C. § 3582(c)(1)(A). Because the defendant is incarcerated at a
state facility, the defendant has not yet had the opportunity to exhaust his
remedies with the BOP. The Government does not argue that the defendant has
failed to exhaust his administrative remedies and the Government can waive
the administrative exhaustion requirement. See e.g., United States v.
Gentille, No. 19-CR-590 (KPF), 2020 WL 1814158, at *3 (S.D.N.Y. Apr. 9, 2020)
(holding that Section 3582(c)(1)(A)’s exhaustion requirement is a claim-
processing rule that the Government can waive by failing to raise an
exhaustion argument).
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prevalent at the Cayuga County Jail as at other facilities, but

that no statistics exist. However, the Government advises that

as of July 16, 2020, Cayuga County Jail had zero cases of COVID-

19 to date. Dkt. No. 155. The defendant was only 20 years old

when he was sentenced in 2018, Dkt. No. 108, and thus the

defendant cannot show extraordinary circumstances based on his

age. The defendant also does not argue that any family

circumstances would make him the sole caregiver for a child or

spouse. The defendant argues instead that Cayuga County Jail has

fewer services and remedial opportunities, such as vocational

programs, compared to the resources available at a federal

facility. The lack of specific training programs does not

constitute an extraordinary and compelling reason justifying

compassionate release.

                               B.

     Because no extraordinary and compelling circumstances

exist, there is no basis to reconsider the sentencing factors in

18 U.S.C. § 3553(a). In any event, the Section 3553(a) factors

weigh against a reduction in sentence. The defendant has served

fewer than half of his 15-month sentence, which was a sentence

below the Sentencing Guidelines range of 27 to 33 months’

imprisonment. Dkt. No. 108. At the sentencing, the Court already

accounted for the Section 3553(a) factors, including the

seriousness of the offense, as well as mitigating factors such


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as the defendant’s difficult upbringing and the severity of the

state court sentence. Id. None of these factors have changed.

     The defendant’s request that the Court modify his term of

supervised release to include home detention is not a proper

alternative. Courts, “may reduce the term of imprisonment (and

may impose a term of probation or supervised release with or

without conditions that does not exceed the unserved portion of

the original term of imprisonment).” 18 U.S.C. § 3582(c)(1)(A)

(emphasis added). However, the Court declines to reduce the term

of the defendant’s imprisonment and thus the defendant’s term of

supervised release has not yet begun. To the extent that the

defendant requested to convert his term of imprisonment into a

term of home confinement, the authority to place a prisoner in

home confinement rests with the BOP under 18 U.S.C.

§ 3624(c)(2), and the discretion to make such an order “lies

solely with the Attorney General.” United States v. Logan, No.

15-cr-27, 2020 WL 2559955, at *2 (W.D.N.C. May 20, 2020)

(collecting cases).

     Accordingly, the defendant’s motion to reduce his sentence

is denied.




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                           CONCLUSION

     The Court has considered all of the arguments raised by the

parties. To the extent not specifically discussed above, the

arguments are either moot or without merit. The defendant’s

application for a reduction in his sentence pursuant to 18

U.S.C. § 3582(c)(1)(A) is denied.

SO ORDERED.

Dated:    July 20, 2020
          New York, New York             /s/ John G. Koeltl
                                            John G. Koeltl
                                    United States District Judge




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